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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA                     )
                                              )
 vs.                                          )   CRIMINAL NO. 11-00151-CG
                                              )
 LOVERNE BOLLWAGE                             )
 BLACKLEDGE,                                  )
                                              )
       Defendant.                             )

                                         ORDER

       In accordance with the Eleventh Circuit’s judgment entered on April 4, 2013

 (Doc. 456) vacating defendant Blackledge’s convictions and remanding case for

 entry of judgment of acquittal (Doc. 456), and for the reasons as set forth in said

 judgment, Loverne Bollwage Blackledge is hereby ADJUDGED not guilty and

 acquitted of the offenses of conspiracy to possess with intent to distribute

 marijuana in violation of Title 21 U.S.C., §§ 841(a)(1) and 846 as charged in Count 1

 of the Indictment; and of knowingly and intentionally using a communication

 facility to facilitate the distribution of marijuana in violation of Title 21 U.S.C., §

 843 as charged in Counts 21 and 31 of the Indictment. Therefore, the judgment

 entered on the docket on February 27, 2012 (Doc. 365) is VACATED; and the

 Indictment against Loverne Bollwage Blackledge dated May 26, 2011 hereby is

 DISMISSED with prejudice.

       It is ORDERED that Loverne Bollwage Blackledge be immediately

 RELEASED from the custody of the Bureau of Prisons on the charges in this

 action.
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       The United States Marshal is ORDERED to immediately forward a copy of

 this order to the appropriate authorities at the Bureau of Prisons.

       DONE and ORDERED this 10th day of April, 2013.

                                            /s/ Callie V. S. Granade
                                            UNITED STATES DISTRICT JUDGE
